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                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS


RANDALL LYKINS,                                    )
                                                   )
                             Plaintiff,            )
                                                   )
v.                                                 )       Case No. 11-CV-2133-JTM/DJW
                                                   )
CERTAINTEED CORPORATION and                        )
SAINT-GOBAIN CORPORATION                           )       Filed via ECF
                                                   )
                             Defendants.           )


                      NOTICE FOR 30(b)(6) DEPOSITION OF
     SAINT-GOBAIN CORPORATION AND REQUEST FOR PRODUCTION OF DOCUMENTS



TO:     John R. Phillips
        Amy M. Fowler
        Traci Daffer Martin
        HUSCH BLACKWELL, LLP
        4801 Main Street, Suite 1000
        Kansas City, Missouri 64112

        PLEASE TAKE NOTICE that Plaintiff Randall Lykins by and through his undersigned

attorneys, will take the oral deposition of Defendant Saint-Gobain Corporation (“Saint-Gobain”),

pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure, on April 5, 2012 at 9 a.m.,

before a Court Reporter or other officer authorized by law to administer oaths, and thereafter,

from day to day as the taking of the deposition may be adjourned, at the offices of Popham Law

Firm, PC, 712 Broadway, Suite 100, Kansas City, Missouri 64105.

        The deposition shall relate to the subjects described in Exhibit A attached hereto.

CertainTeed shall designate one or more officers, directors, managing agents or other persons




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who consent to testify on its behalf regarding the subjects described in Exhibit A. For each

person designated, CertainTeed shall set out the matters upon which the deponent will testify.

       ALSO PLEASE TAKE NOTICE that attached hereto as Exhibit B is a Request for

Production of Documents and Things, pursuant to Rules 30(b)(2) and 34(b) of the Federal Rules

of Civil Procedure. CertainTeed shall produce the documents requested either on the date of the

deposition or to undersigned counsel thirty (30) days from the date of service of this notice,

whichever date is sooner.

Dated: March 13, 2012                            /s/ AdoLisa J. Anarado
                                                    AdoLisa J. Anarado, KS# 78166
                                                    ANARADO LAW FIRM, LLC
                                                    2300 Main Street, Suite 900
                                                    Kansas City, Missouri 64108
                                                    Telephone: 816.434.8300
                                                    Email: adolisa@anaradolaw.com

                                                    And

                                                    Dennis E. Egan, KS# 70672
                                                    POPHAM LAW FIRM, P.C.
                                                    712 Broadway, Suite 100
                                                    Kansas City, Missouri 64105
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                                                    ATTORNEYS FOR PLAINTIFF




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                                      EXHIBIT A
DEFINITIONS

1.     “Saint-Gobain,” “you” or “your” refers to the responding party Saint-Gobain Corporation
       and any of its predecessors and successors in interest, parents, segments, divisions, or
       business lines and any of its present or former officers, directors, agents, employees,
       investigators, and any persons acting or purporting to act on its behalf.

2.     “CertainTeed” refers to CertainTeed Corporation.

3.     KCK Plant” refers to the fiberglass manufacturing plant owned and operated by
       CertainTeed Corporation located in Kansas City, Kansas.

TOPICS FOR EXAMINATION

       Plaintiff requests that Saint-Gobain designate a representative or representatives to testify
regarding any information, knowledge, documents, correspondence, materials, witnesses,
conversations or interactions relevant to the following topics. Notwithstanding the specificity
with which the topics are described below, Plaintiff reserves the right to seek further discovery
from Defendant as permitted by the Federal Rules of Civil Procedure:

      1. Historical overview and general background of Saint-Gobain.

      2. Your corporate structure (2008-present)
         (a) Corporate governance structure and hierarchy, including names of corporate
             officers, duties of officers, names of members of the board of directors and duties
             of board of directors, ect.
         (b) Overlap of your corporate governance structure with CertainTeed
         (c) Decision-making relationship between You and CertainTeed.
         (d) Financial relationship between You and CertainTeed, including the handling of
             CertainTeed’s profits and debts, project funding, ect.

      3. Your operational structure (2008-present)
         (a) Location of your corporate headquarters.
         (b) Identity of departments and/or divisions located at corporate headquarters.
         (c) Roles of departments and/or divisions located at corporate headquarters.
         (d) Identity and hierarchy of departments and/or divisions within company.
         (e) Your involvement with KCK Plant and K21 line.
         (f) Policy and/or procedure for setting production requirements and budget for KCK
             Plant and K21 line.
         (g) Your company-wide computer system including electronic filing system, email
             system, location of servers, relation of your computer system to Saint-Gobain’s
             system.




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4. Saint-Gobain’s financial status (2007- present)
   (a) Publicly traded
   (b) Net worth

5. Your relationship with CertainTeed (2007-present)
   (a) Saint-Gobain insignia at KCK Plant
   (b) Shared Financial – accounting records, tax filings, bank accounts, lines of credit.
   (c) Shared Operations – telephone system, telephone number, switchboard, computer
       system, corporate headquarters, personnel, marketing, email or computer system.
   (d) Shared Labor Relations – payroll, human resources policies, employee benefits,
       employee
   (e) Decisions made by Saint-Gobain effecting CertainTeed, including CertainTeed
       manufacturing plant closures, product line, budget, operations ect.

6. Employee Payroll
   (a) Information regarding bank account Plaintiff’s payroll was paid from, including
       bank name and all entities named on account.




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                                      EXHIBIT B
                                REQUESTS FOR PRODUCTION

       1.      All non-attorney prepared documents that were used or relied upon to

prepare for this deposition and which have not already been produced in this litigation.

       2.      Documents not already produced in this litigation which demonstrate or

establish the topics listed in Exhibit A.




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                                   Certificate of Service

       The undersigned hereby certifies that on March 13, 2012, I electronically filed the
foregoing Notice of Deposition with the Clerk of the Court using the CM/ECF system which
sent notification of such filing to the following:

John R. Phillips
Amy M. Fowler
Traci Daffer Martin
HUSCH BLACKWELL, LLP
4801 Main Street, Suite 1000
Kansas City, Missouri 64112
816-983-8000 (office)
816-983-8080 (facsimile)
E-mail: john.phillips@huschblackwell.com
E-mail: amy.fowler@huschblackwell.com
E-mail: traci.martin@huschblackwell.com

ATTORNEYS FOR DEFENDANT S
CERTAINEED CORPORATION and
SAINT-GOBAIN CORPORATION


        /s/ AdoLisa Anarado
      Attorney for Plaintiff




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